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                                   EXHIBIT A




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    RIVERBED TECHNOLOGY, INC., et al.,1                              )     Case No. 21-11503 (CTG)
                                                                     )
                             Reorganized Debtors.                    )     (Jointly Administered)
                                                                     )     Re: Docket No. 250

              ORDER GRANTING REORGANIZED DEBTORS’
         MOTION TO SHORTEN NOTICE PERIOD AND SCHEDULE
     EXPEDITED HEARING ON REORGANIZED DEBTORS’ MOTION FOR
 ENTRY OF A FINAL DECREE CLOSING THE CHAPTER 11 CASES PURSUANT
TO SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

             Upon the motion (the “Motion to Shorten”)2 for entry of an order shortening the notice

period and scheduling an expedited Hearing on the Reorganized Debtors’ Motion for Entry of

Final Decree Closing the Chapter 11 Cases Pursuant to Section 350(a) of the Bankruptcy Code

and Bankruptcy Rule 3022 (the “Motion”) filed by the Reorganized Debtors, all as more fully set

forth in the Motion to Shorten; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

this Court may enter a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Motion to Shorten in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief



1
      The reorganized debtors in these chapter 11 cases, along with the last four digits of each reorganized debtor’s
      federal tax identification number, are: Riverbed Technology, Inc. (8754); Aternity LLC (8754); Riverbed
      Holdings, Inc. (6675); and Riverbed Parent, Inc. (2610). The location of the reorganized debtors’ service address
      in these chapter 11 cases is: 680 Folsom Street, San Francisco, CA 94107.
2
      Capitalized terms not defined herein shall have the meanings given to such terms in the Motion to Shorten or the
      Motion, as applicable.



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requested in the Motion to Shorten is in the best interests of the Reorganized Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Reorganized Debtors’

notice of the Motion to Shorten was appropriate under the circumstances and no other notice need

be provided; and this Court having reviewed the Motion to Shorten; and this Court having

determined that the legal and factual bases set forth in the Motion to Shorten establish just cause

for the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.         The Motion to Shorten is GRANTED.

        2.         The Hearing to consider the relief requested in the Motion shall be held on

March 30, 2022 at 2:00 p.m. (prevailing Eastern Time).

        3.         The deadline to respond or object to the relief requested in the Motion is

March 23, 2022 at 4:00 p.m. (prevailing Eastern Time).

        4.         This Court shall retain jurisdiction to enforce and interpret the provisions of

this order.




Dated: March 17th, 2022                    CRAIG T. GOLDBLATT
Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE




                                                  2
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